        Case 2:08-cr-00554-WBS Document 72 Filed 02/08/11 Page 1 of 2


 1   ERIN J. RADEKIN
     Attorney at Law - SBN 214964
 2   428 J Street, Suite 350
     Sacramento, California 95814
 3   Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
 4
     Attorney for Defendant
 5   SABRINA BUCHER
 6
 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10
11 UNITED STATES OF AMERICA,
                                                        Case No. 08-CR-00554 WBS
12                  Plaintiff,

13 v.
                                                        STIPULATION AND [PROPOSED] ORDER
14                                                      FOR CONTINUANCE OF STATUS
     SABRINA BUCHER, et al.                             CONFERENCE
15
                    Defendants.
16
17
18
19                                              STIPULATION
20          Plaintiff, United States of America, by and through its counsel, Assistant United States
21   Attorney William S. Wong and defendant, Sabrina Bucher, by and through her counsel, Erin J.
22   Radekin, agree and stipulate to vacate the date set for status conference, February 7, 2011 at 8:30
23   a.m. and to reset such hearing on March 7, 2011 at 8:30 a.m. in the courtroom of the Honorable
24   William B. Shubb.
25          The reason for this request is that additional time is needed by the parties to negotiate
26   resolution of this case. The Court is advised that Mr. Wong concurs with this request and has
27   authorized Ms. Radekin to sign this stipulation on his behalf.
28          The parties further agree and stipulate that the time period from the filing of this stipulation
     until March 7, 2011 should be excluded in computing time for commencement of trial under the
         Case 2:08-cr-00554-WBS Document 72 Filed 02/08/11 Page 2 of 2


 1   Speedy Trial Act, based upon the interest of justice under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local
 2   Code T4, to allow continuity of counsel and to allow reasonable time necessary for effective defense
 3   preparation. It is further agreed and stipulated that the ends of justice served in granting the request
 4   outweigh the best interests of the public and the defendant in a speedy trial.
 5          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 6   IT IS SO STIPULATED.
 7
     Dated: February 4, 2011                                  BENJAMIN WAGNER
 8                                                            United States Attorney
 9                                                     By:          /s/ William S. Wong
                                                              WILLIAM S. WONG
10                                                            Assistant United States Attorney
11
12   Dated: February 4, 2011                                        /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
13                                                            Attorney for Defendant
                                                              SABRINA BUCHER
14
15
                                                     ORDER
16
            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
17
     status conference date of February 7, 2011 at 8:30 a.m. is VACATED and the above-captioned
18
     matter is set for status conference on March 7, 2011 at 8:30 a.m. The court finds excludable time in
19
     this matter through March 7, 2011 under 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4, to allow
20
     continuity of counsel and to allow reasonable time necessary for effective defense preparation. For
21
     the reasons stipulated by the parties, the Court finds that the interest of justice served by granting the
22
     request outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
23
     3161(h)(7)(A), (h)(7)(B)(iv).
24
     IT IS SO ORDERED.
25
     Dated: February 7, 2011
26
27
28


                                                        -2-
